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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 24-60891-Civ-AHS


  INTER-COSTAL WATERWAYS, LLC,

                         Plaintiff,

  v.

  TRADESTATION SECURITIES, INC.,
  and DOE DEFENDANTS 1-10,

                         Defendants,

                 and

  FINANCIAL INDUSTRY REGULATORY
  AUTHORITY, INC.

                    Nominal Defendant.
  _____________________________________/

                       FINRA’S UNOPPOSED MOTION FOR EXTENSION
                                 OF TIME TO FILE REPLY

         Pursuant to Local Rule 7.1, Nominal Defendant Financial Industry Regulatory Authority,

  Inc. (“FINRA”) respectfully moves for an extension of time to file its reply memorandum in

  further support of its motion to dismiss.   In support of this motion, FINRA states as follows:

         1.      On July 31, 2024, Plaintiff served FINRA with its opposition to FINRA’s motion

  to dismiss. FINRA’s reply memorandum is currently due on August 7, 2024.

         2.      Due to the press of other work, as well being currently out of the district for

  personal reasons, undersigned counsel requires additional time to prepare FINRA’s reply.
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  Pursuant to Federal Rule of Civil Procedure 6(b), FINRA requests a 7-day extension of time,

  through and including August 14, 2024, in which to file its reply.

         3.      The instant motion is made in good faith and neither the Court nor the parties will

  be prejudiced by the requested relief.

                                LOCAL RULE 7.1(a)(3) CERTIFICATION

         I hereby certify that the undersigned conferred with Plaintiff’s counsel, who does not

  object to the requested relief.

                                               Respectfully submitted,

                                               /s/ David S. Mandel
                                               David S. Mandel
                                                 FBN 38040
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                                               Financial Industry Regulatory Authority, Inc.




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                                        CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 1st day of August, 2024, the foregoing document was

  electronically filed with the Clerk of Court using the CM/ECF system, which will send

  notification of such filing to all counsel of record.

                                                            /s/ David S. Mandel




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